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 6             jnolan@pszjlaw.com
 7     Counsel to Bradley D. Sharp, Chapter 11 Trustee
 8                                    UNITED STATES BANKRUPTCY COURT
 9                                     CENTRAL DISTRICT OF CALIFORNIA
10                                             LOS ANGELES DIVISION
11     In re                                            Case No. 2:23-bk-10990-NB
12     LESLIE KLEIN,                                    Chapter 11
13                                  Debtor.
14
                                                        Adversary No.: 2:23-ap-01152-NB
15     FRANKLIN H. MENLO, CO-TRUSTEE
       OF THE FRANKLIN MENLO                            PROOF OF SERVICE OF ORDER (1)
16     IRREVOCABLE TRUST ESTABLISHED                    SETTING STATUS CONFERENCES IN
       ON MARCH 1, 1983,                                RELATED ADVERSARY PROCEEDINGS,
17                                                      AND (2) DIRECTING CHAPTER 11 TRUSTEE
                                       Plaintiff,       TO GIVE NOTICE TO ALL PARTIES
18     vs.
                                                        [Relates to Docket No. 950 in Case No. 23-10990]
19     LESLIE KLEIN,
                                                        Principal Status Conference:
20                                     Defendant.       Date:     April 8, 2025
                                                        Time:     2:00 p.m.
21                                                      Place: Courtroom 1545
                                                                  255 E. Temple Street
22                                                                Los Angeles, CA 90012
                                                        (or via Zoomgov per posted instructions)
23

24

25               I, Nancy H. Brown, am employed in the city and county of Los Angeles, State of California.
26     I am over the age of 18 and not a party to the within action; my business address is 10100 Santa
27     Monica Boulevard, Suite 1300, Los Angeles, California 90067.
28


       4936-7640-6823.1 78512.001
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 1               On March 14, 2025, I caused a copy of the Order (1) Setting Status Conferences In Related

 2     Adversary Proceedings, And (2) Directing Chapter 11 Trustee To Give Notice To All to be served as

 3     indicated in the manners below:

 4     SERVED BY U.S. MAIL:
 5          Leslie Klein & Associates, Inc.    Leslie Klein                 Leslie Klein & Associates, Inc.
            c/o Parker Milliken                322 North June Street        c/o Leslie Klein
 6          555 Flower Street                  Los Angeles, CA 90004        6454 Van Nuys Blvd. Suite 150
            Los Angeles, CA 90071                                           Van Nuys, CA 91401
 7
       SERVED BY EMAIL:
 8
            •    Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
 9          •    Michael I. Gottfried mgottfried@elkinskalt.com,
                 cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com,tparizad@elkinskalt.com
10          •    Armen Manasserian armen@ml-apc.com, jennifer@ml-apc.com,maria@ml-apc.com
            •    Nikko Salvatore Stevens nikko@cym.law, eService@cym.law,karen@cym.law
11          •    Alan G Tippie Alan.Tippie@gmlaw.com, atippie@ecf.courtdrive.com;
                 Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denise.walker@gmlaw.com
12          •    Brett J. Wasserman wasserman@smcounsel.com
            •    Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
13          •    Paul P Young paul@cym.law, eService@cym.law,karen@cym.law
            •    Leslie Klein les.kleinlaw@gmail.com; leskleinlaw@gmail.com; kleinlaw@earthlink.net
14          •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

15               I declare under penalty of perjury, under the laws of the State of California and the United
16     States of America that the foregoing is true and correct.
17               Executed on March 14, 2025 at Los Angeles, California.
18                                                                 /s/ Nancy H. Brown
19                                                                     Nancy H. Brown

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       4936-7640-6823.1 78512.001                              2
